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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


STEPHEN BELLINGHAM, Individually               Case No.
and On Behalf of All Others Similarly
Situated,
                                               CLASS ACTION COMPLAINT
                             Plaintiff,

                   v.                          JURY TRIAL DEMANDED

QUDIAN INC., MIN LUO, and CARL
YEUNG,

                             Defendants.




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       Plaintiff Stephen Bellingham (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants, alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

own acts, and information and belief as to all other matters, based upon, inter alia, the investigation

conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

the Defendants’ public documents, conference calls and announcements made by Defendants,

United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings, wire and press

releases published by and regarding Qudian Inc. (“Qudian” or the “Company”), analysts’ reports

and advisories about the Company, and information readily obtainable on the Internet. Plaintiff

believes that substantial evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

other than Defendants who purchased or otherwise acquired Qudian securities between December

13, 2018 and January 15, 2020, both dates inclusive (the “Class Period”), seeking to recover

damages caused by Defendants’ violations of the federal securities laws and to pursue remedies

under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and

Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      Qudian was founded in 2014 and is headquartered in Xiamen, the People’s

Republic of China (“China”). Qudian provides online small consumer credit products in China,

using big data-enabled technologies, including artificial intelligence and machine learning to

purportedly transform the consumer finance experience.




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       3.      Qudian offers small credit products, such as cash credit products; merchandise

credit products to finance borrowers’ direct purchase of merchandise offered on its marketplace

on installment basis; and budget auto financing products. In addition, it operates a platform for

loan recommendations and referrals.

       4.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operational and compliance policies. Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) regulatory

developments in China threatened to negatively impact Qudian’s fiscal full year 2019 (“FY19”)

financial results; (ii) Qudian’s business was unprepared to mitigate the risks associated with these

regulatory changes; (iii) as a result, Qudian’s loan portfolio was plagued by growing delinquency

rates; (iv) all of the foregoing made Qudian’s repeated assertions concerning its FY19 financial

guidance unrealistic; and (v) as a result, the Company’s public statements were materially false

and misleading at all relevant times.

       5.      On January 16, 2020, Qudian issued a press release announcing “that the Company

withdraws its fiscal 2019 guidance and will not issue guidance in the near term due to uncertainty

related to the recent regulatory and operating environment.” The press release stated that “China’s

online consumer finance industry was affected by several regulatory developments in the fourth

quarter of 2019, including further restrictions on loan collection practices, more stringent user data

privacy rules and the requirements for P2P lending platforms to orderly exit their P2P businesses,”

which had “reduced the availability of funding for consumer credit and driven up delinquency

rates across the industry, including the Company’s loan portfolio.”

       6.      On this news, Qudian’s ADS price fell $0.84 per share, or 19.13%, to close at $3.55

per share on January 16, 2020.



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       7.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       8.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

       10.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Qudian securities trade on the New York Stock

Exchange (“NYSE”), located within this Judicial District.

       11.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                           PARTIES

       12.     Plaintiff, as set forth in the attached Certification, acquired Qudian securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.

       13.     Defendant Qudian is a Cayman Islands corporation with principal executive offices

located at Tower A, AVIC Zijin Plaza, Siming District, Xiamen, Fujian Province 361000, China.

Qudian’s securities trade on the NYSE under the ticker symbol “QD.”



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        14.     Defendant Min Luo (“Luo”) has served as Qudian’s Chairman and Chief Executive

Officer at all relevant times.

        15.     Defendant Carl Yeung (“Yeung”) has served as Qudian’s Chief Financial Officer

at all relevant times.

        16.     Defendants Luo and Yeung are sometimes referred to herein as the “Individual

Defendants.”

        17.     The Individual Defendants possessed the power and authority to control the

contents of Qudian’s SEC filings, press releases, and other market communications.            The

Individual Defendants were provided with copies of Qudian’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with Qudian, and their access to material information available to them but not to the public, the

Individual Defendants knew that the adverse facts specified herein had not been disclosed to and

were being concealed from the public, and that the positive representations being made were then

materially false and misleading. The Individual Defendants are liable for the false statements and

omissions pleaded herein.

        18.     Qudian and the Individual Defendants are collectively referred to herein as

“Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

                                          Background

        19.     Qudian was founded in 2014 and is headquartered in Xiamen, China. Qudian

provides online small consumer credit products in China, using big data-enabled technologies,




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including artificial intelligence and machine learning to purportedly transform the consumer

finance experience.

       20.     Qudian offers small credit products, such as cash credit products; merchandise

credit products to finance borrowers’ direct purchase of merchandise offered on its marketplace

on installment basis; and budget auto financing products. In addition, it operates a platform for

loan recommendations and referrals.

        Materially False and Misleading Statements Issued During the Class Period

       21.     The Class Period begins on December 13, 2018, when Qudian issued a press

release, during pre-market hours, announcing its FY19 financial guidance. That press release

assured investors that the Company’s FY19 forecast had accounted for a variety of factors and

risks that could impact the Company’s financial results, and was therefore a reliable and

conservative estimate of the Company’s FY19 financial results, stating, in relevant part:

       [B]ased on the Company’s current operational outlook while acknowledging recent
       market conditions and macroeconomic performance indicators, as well as its
       preliminary expectations of its regulatory environment, customer demand, market
       conditions and operations in the near future, the Company expects that its total non-
       GAAP net income for the full year of 2019 will be greater than RMB3.5 billion,
       after excluding non-recurring costs and charges.

       22.     On March 18, 2019, Qudian issued a press release announcing its fourth quarter

and full year financial results for fiscal year 2018 (the “4Q/FY18 Press Release”). That press

release reiterated the Company’s confidence in its FY19 financial guidance, representing that

“[t]he Company reaffirms its total Non-GAAP net income for the full year of 2019 will exceed

RMB3.5 billion after excluding non-operating costs and charges, which would represent a 37.3%

increase from RMB2,549.3 million for 2018.”

       23.     Additionally, the 4Q/FY18 Press Release assured investors that the FY19 guidance

was reliable and “based on current market conditions and reflects the Company’s preliminary

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expectations as to market conditions, its regulatory and operating environment, as well as customer

demand.” Notwithstanding the purportedly well-informed confidence with which the Company

reaffirmed its FY19 guidance, the 4Q/FY18 Press Release included the vague caveat that these

factors “are subject to change,” which was plainly a general “catch-all” term that was not tailored

to Qudian’s actual known risks with respect to potential regulatory developments in China.

        24.     On April 15, 2019, Qudian filed an Annual Report on Form 20-F with the SEC,

reporting the Company’s financial and operating results for the quarter and year ended December

31, 2018 (the “2018 20-F”). In a section titled “Economic Conditions and Regulatory Environment

in China,” the 2018 20-F indicated that not only could the Company adapt to Chinese regulatory

changes as they developed, but also simultaneously downplayed the risk of potential regulatory

changes by asserting that such changes could benefit the Company. For example, that section of

the 2018 20-F asserted that Qudian would “comply with new laws and regulations or changes

under existing laws and regulations that may arise in the future,” and that “[w]hile new laws and

regulations or changes to existing laws and regulations could make facilitating credit to borrowers

more difficult or expensive, or making such credit products more difficult for borrowers or

institutional funding partners to accept or on terms favorable to [the Company], these events could

also provide new product and market opportunities” (emphasis added).

        25.     The 2018 20-F further allayed investor concerns regarding Chinese regulatory

impacts on Qudian’s business by touting the Company’s risk management team, which was

purportedly comprised of 177 employees who regularly monitored portfolio performance and

stability, optimized the Company’s loan system to China’s developing regulatory framework, and

employed a machine learning algorithm to manage delinquency risk. For example, the 2018 20-F

stated, in relevant part:



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       Our risk management team meets regularly to examine the credit and enterprise
       risks of our company, and is intimately involved in portfolio management, credit
       model development, validation and optimization. Tasks performed by our risk
       management team includes reporting on origination trends, monitoring of portfolio
       performance and stability, risk concentrations, building and maintaining credit
       models, performing economic stress tests on our portfolio, optimizing credit
       decisioning processes and conducting peer benchmarking and exogenous risk
       assessments.

       [. . . .] [P]olicies and practices are designed to optimize regulatory compliant
       repayment, while also providing superior borrower experience. [. . . .]

       We have developed a machine learning algorithm to better allocate collection
       resources based on more detailed grouping of larger delinquency risk, which we
       rolled out in the second quarter of 2017 . . . . We expect to both improve our
       collection efficiency and reduce delinquency under this algorithm.

       26.     Further, the 2018 20-F touted Qudian’s “M1+ delinquency rate,” which the 2018

20-F defines “as the total balance of outstanding principal of a vintage[1] for which any installment

payment is over 30 calendar days past due as of a particular date (adjusted to reflect total amount

of recovered past due payments for principal, before charge-offs), divided by the total initial

principal in such vintage.” Specifically, the 2018 20-F touted that “M1+ delinquency rate by

vintage for vintages in 2017 remained at a level of 2.0% or less up to December 31, 2018 as a

result of [the Company’s] effective credit assessment model and risk management system despite

serving a more diverse customer group,” and that “M1+ delinquency rate by vintage for the first

three quarters of 2018 remained at less than 2.5% up to December 31, 2018, which demonstrates

the effectiveness of [the Company’s] risk management system.”

       27.     Appended as exhibits to the 2018 20-F were signed certifications pursuant to the

Sarbanes-Oxley Act of 2002, wherein the Individual Defendants certified that “[t]he [2018 20-F]

fully complies with the requirements of Section 13(a) or 15(d) of the Securities Exchange Act of



1
 The 2018 20-F defines “vintage” as “transactions [Qudian] facilitated during a specified time
period.”
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1934” and that “[t]he information contained in the [2018 20-F] fairly presents, in all material

respects, the financial condition and results of operations of the Company.”

       28.     On May 20, 2019, Qudian issued a press release announcing its financial results for

the first quarter of fiscal year 2019 (the “1Q19 Press Release”). In that press release, the Company

again reiterated confidence in its FY19 financial guidance, stating that “[t]he Company reaffirms

its total Non-GAAP net income for the full year of 2019 to exceed RMB3.5 billion, which will

represent a 37.3% increase from RMB2,549.3 million for 2018,” and that “[t]he above outlook is

based on current market conditions and reflects the Company’s preliminary expectations as to

market conditions, its regulatory and operating environment, as well as customer demand.” This

press release also provided the same vague caveat that “all of [these factors] are subject to change,”

which was plainly a general “catch-all” term that was not tailored to Qudian’s actual known risks

with respect to potential regulatory developments in China.

       29.     Additionally, the 1Q19 Press Release quoted Defendant Yeung, who parroted the

press release’s confidence in Qudian’s FY19 financial guidance, stating that “[w]ith solid first

quarter results and ample external funding, we remain confident in achieving our guidance

announced in December 2018 and expect full year 2019 Non-GAAP net income to exceed RMB3.5

billion.” Defendant Yeung further represented that “[a]gainst this healthy outlook, we recently

bought back all our remaining shares held by Kunlun Group Limited for US$103.2 million and

subsequently cancelled the related 18,173,885 ADSs in order to further enhance our EPS,

demonstrating our long-standing commitment to delivering shareholder value,” thereby further

indicating to investors the Company’s confidence in its FY19 financial guidance.

       30.     On June 21, 2019, Qudian issued a press release updating its FY19 financial

guidance by raising it above prior valuations by RMB1 billion (the “June 2019 Press Release”).



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Specifically, that press release stated that “based on its latest operational outlook and market

conditions, as well as preliminary expectations of the relevant regulatory environment in the

near future, the Company raised its total non-GAAP net income guidance for the full year of 2019

from greater than RMB3.5 billion, as announced on December 13, 2018, to greater than RMB4.5

billion” (emphasis added).

       31.     The June 2019 Press Release also quoted Defendant Luo, who attributed the

increased FY19 financial guidance to “encouraging trends in our business”; “strong momentum in

our open platform initiative”; “a higher level of no-risk, high margin incremental profits than we

had anticipated”; and that, “given our sufficient funding and strong user demand, growth of our

loan book is well ahead of our previously set targets, giving us strong confidence that we will

meet our revised guidance” (emphasis added).

       32.     On August 16, 2019, Qudian issued a press release announcing its financial results

for the second quarter of fiscal 2019. That press release, in same manner as prior press releases,

reiterated confidence in the Company’s FY19 financial guidance, stating that “[t]he Company

reaffirms its total Non-GAAP net income for the full year of 2019 to exceed RMB4.5 billion,

which will represent a 76.5% increase from approximately RMB2.5 billion for 2018; and that

“[t]he above outlook is based on current market conditions and reflects the Company’s preliminary

expectations as to market conditions, its regulatory and operating environment, as well as customer

demand”; while supplying the same merely generic, boilerplate representation that these factors

were “subject to change,” which was plainly a general “catch-all” term that was not tailored to

Qudian’s actual known risks with respect to potential regulatory developments in China.

       33.     The statements referenced in ¶¶ 21-32 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse



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facts about the Company’s business, operational and compliance policies.                Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) regulatory

developments in China threatened to negatively impact Qudian’s FY19 financial results; (ii)

Qudian’s business was unprepared to mitigate the risks associated with these regulatory changes;

(iii) as a result, Qudian’s loan portfolio was plagued by growing delinquency rates; (iv) all of the

foregoing made Qudian’s repeated assertions concerning its FY19 financial guidance unrealistic;

and (v) as a result, the Company’s public statements were materially false and misleading at all

relevant times.

                                    The Truth Begins to Emerge

       34.        On November 18, 2019, during pre-market hours, Qudian issued a press release

announcing its financial results for the third quarter of fiscal 2019 (the “3Q19 Press Release”).

That press release reduced the Company’s previously reported FY19 guidance by approximately

RMB0.5 billion. Specifically, the 3Q19 Press Release advised that “[d]ue to recent strategy for

the company to reduce risk-taking loan balance and focus on higher quality borrowers via open-

platform, the Company has adjusted its expected total Non-GAAP net income for [FY19] to

RMB4.0 billion, which will represent an approximately 57% increase from RMB2.55 billion for

2018.” As with prior guidance, the 3Q19 Press Release assured investors this forecast was “based

on current market conditions and reflects the Company’s preliminary expectations as to market

conditions, its regulatory and operating environment, as well as customer demand, all of which are

subject to change.”

       35.        On this news, Qudian’s ADS price fell $1.58 per share, or 21.07%, to close at $5.92

per share on November 18, 2019. Despite this large share price decline, the Company’s securities




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continued to trade at artificially inflated prices throughout the Class Period as a result of

Defendants’ unduly optimistic statements and misrepresentations.

       36.        For example, the 3Q19 Press Release quoted Defendant Luo, who touted the

Company’s adaptation to China’s regulatory requirements for its lending business, including

complete avoidance of a P2P business model and improvements in the Company’s data privacy

and loan collection practices. Specifically, Defendant Luo represented, in relevant part:

       In the face of a complex and evolving regulatory framework over the past several
       years we have proven our ability to lead and innovate, creating China’s leading
       regulatory compliant fintech company. Our past efforts in full compliance with
       Circular 141, restrained use of micro lending license, complete avoidance of P2P
       business model, 100% institutional funding base, disciplined approach to collection
       and respect of our customers’ data privacy have all cumulated to our open platform
       solution. Our open platform where the licensed and regulated financial institutions
       lend and assume borrowers risk while QD provides a full suite of transaction
       services using cutting edge technologies to enhance analytics, user experience,
       reduce customer acquisition and engagement cost, is likely to be the ultimate form
       of regulatory compliant fintech in China.

       37.        The statements referenced in ¶ 36 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operational and compliance policies.               Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) regulatory

developments in China threatened to negatively impact Qudian’s FY19 financial results; (ii)

Qudian’s business was unprepared to mitigate the risks associated with these regulatory changes;

(iii) as a result, Qudian’s loan portfolio was plagued by growing delinquency rates; (iv) all of the

foregoing made Qudian’s repeated assertions concerning its FY19 financial guidance unrealistic;

and (v) as a result, the Company’s public statements were materially false and misleading at all

relevant times.

                                     The Truth Fully Emerges



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       38.     On January 16, 2020, Qudian issued a press release announcing “that the Company

withdraws its fiscal 2019 guidance and will not issue guidance in the near term due to uncertainty

related to the recent regulatory and operating environment.” The press release stated that “China’s

online consumer finance industry was affected by several regulatory developments in the fourth

quarter of 2019, including further restrictions on loan collection practices, more stringent user data

privacy rules and the requirements for P2P lending platforms to orderly exit their P2P businesses,”

which had “reduced the availability of funding for consumer credit and driven up delinquency

rates across the industry, including the Company’s loan portfolio.”

       39.     On this news, Qudian’s ADS price fell $0.84 per share, or 19.13%, to close at $3.55

per share on January 16, 2020.

       40.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       41.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Qudian securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

       42.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Qudian securities were actively traded on the NYSE.



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While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Qudian or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        43.       Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        44.       Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

        45.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

              •    whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

              •    whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of Qudian;

              •    whether the Individual Defendants caused Qudian to issue false and misleading
                   financial statements during the Class Period;

              •    whether Defendants acted knowingly or recklessly in issuing false and misleading
                   financial statements;

              •    whether the prices of Qudian securities during the Class Period were artificially
                   inflated because of the Defendants’ conduct complained of herein; and


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             •     whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

       46.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       47.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

             •     Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

             •     the omissions and misrepresentations were material;

             •     Qudian securities are traded in an efficient market;

             •     the Company’s shares were liquid and traded with moderate to heavy volume
                   during the Class Period;

             •     the Company traded on the NYSE and was covered by multiple analysts;

             •     the misrepresentations and omissions alleged would tend to induce a reasonable
                   investor to misjudge the value of the Company’s securities; and

             •     Plaintiff and members of the Class purchased, acquired and/or sold Qudian
                   securities between the time the Defendants failed to disclose or misrepresented
                   material facts and the time the true facts were disclosed, without knowledge of
                   the omitted or misrepresented facts.

       48.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

       49.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.




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United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                             COUNT I

(Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        50.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        51.     This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        52.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Qudian securities; and

(iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Qudian

securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each of them, took the actions set forth herein.

        53.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

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above, including statements made to securities analysts and the media that were designed to

influence the market for Qudian securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Qudian’s finances and business prospects.

        54.         By virtue of their positions at Qudian, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.

        55.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Qudian, the Individual Defendants had knowledge of the details of Qudian’s

internal affairs.

        56.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.        Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of

Qudian. As officers and/or directors of a publicly-held company, the Individual Defendants had a

duty to disseminate timely, accurate, and truthful information with respect to Qudian’s businesses,

operations, future financial condition and future prospects. As a result of the dissemination of the



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aforementioned false and misleading reports, releases and public statements, the market price of

Qudian securities was artificially inflated throughout the Class Period. In ignorance of the adverse

facts concerning Qudian’s business and financial condition which were concealed by Defendants,

Plaintiff and the other members of the Class purchased or otherwise acquired Qudian securities at

artificially inflated prices and relied upon the price of the securities, the integrity of the market for

the securities and/or upon statements disseminated by Defendants, and were damaged thereby.

        57.     During the Class Period, Qudian securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and misleading

statements described herein, which the Defendants made, issued or caused to be disseminated, or

relying upon the integrity of the market, purchased or otherwise acquired shares of Qudian

securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

other members of the Class known the truth, they would not have purchased or otherwise acquired

said securities, or would not have purchased or otherwise acquired them at the inflated prices that

were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

value of Qudian securities was substantially lower than the prices paid by Plaintiff and the other

members of the Class. The market price of Qudian securities declined sharply upon public

disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

        58.     By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

        59.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure



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that the Company had been disseminating misrepresented financial statements to the investing

public.

                                             COUNT II

    (Violations of Section 20(a) of the Exchange Act Against The Individual Defendants)

          60.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          61.   During the Class Period, the Individual Defendants participated in the operation

and management of Qudian, and conducted and participated, directly and indirectly, in the conduct

of Qudian’s business affairs. Because of their senior positions, they knew the adverse non-public

information about Qudian’s misstatement of income and expenses and false financial statements.

          62.   As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Qudian’s

financial condition and results of operations, and to correct promptly any public statements issued

by Qudian which had become materially false or misleading.

          63.   Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Qudian disseminated in the marketplace during the Class Period concerning

Qudian’s results of operations. Throughout the Class Period, the Individual Defendants exercised

their power and authority to cause Qudian to engage in the wrongful acts complained of herein.

The Individual Defendants therefore, were “controlling persons” of Qudian within the meaning of

Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of Qudian securities.




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       64.     Each of the Individual Defendants, therefore, acted as a controlling person of

Qudian. By reason of their senior management positions and/or being directors of Qudian, each

of the Individual Defendants had the power to direct the actions of, and exercised the same to

cause, Qudian to engage in the unlawful acts and conduct complained of herein. Each of the

Individual Defendants exercised control over the general operations of Qudian and possessed the

power to control the specific activities which comprise the primary violations about which Plaintiff

and the other members of the Class complain.

       65.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Qudian.


                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: January 22, 2020                                 Respectfully submitted,

                                                        POMERANTZ LLP

                                                        /s/ Jeremy A. Lieberman
                                                        Jeremy A. Lieberman

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Qudian, Inc.                                                           Bellingham, Stephen

                                 List of Purchases and Sales

                      Purchase                  Number of               Price Per
        Date           or Sale                  Shares/Unit            Share/Unit

          2/13/2019   Purchase                                   400                $5.0300
           3/1/2019   Purchase                                   100                $6.4000
          3/14/2019   Purchase                                 1,000                $5.2100
           6/5/2019   Purchase                                   400                $6.9000
          9/16/2019   Purchase                                 1,000                $7.0300
         11/20/2019   Purchase                                 2,000                $5.3300
